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                           Exhibit 6
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From:                               Kirsch, Kevin W.
Sent:                               Wednesday, August 30, 2023 6:37 PM
To:                                 Cormier, Kara
Cc:                                 Skale, Andrew; Donley, Billy; Brandyberry, Jared; Samuels, Andrew
Subject:                            RE: Unauthorized and Unlicensed Use of CygNet Software


Dear Andrew,

Thank you for confirming that Iron‐IQ will no longer run any install via the “3‐day trial license period.” As stated
previously, only licensed customers have access to Weatherford’s CygNet software under any circumstance. Iron‐IQ is
not a licensed customer. As such, Iron‐IQ running any installation of Weatherford’s CygNet software is unlawful and
improper.

Please further confirm that no employee or representative of Iron‐IQ will run any version of Weatherford’s CygNet
software for any purpose. Please further confirm that Iron‐IQ will delete all copies of Weatherford’s CygNet software in
its possession, custody or control.

With respect to your statements regarding Mr. Ligrani, we have records indicating that he logged in to the CygNet
software using Mligrani@utahgascorp.com dozens of times before and multiple times after joining Iron‐IQ. If he wasn’t
an employee of Utah Gas Corp. why was he logging in using that email address? Regardless of whether he logged in as
an employee, independent contractor or in some other capacity, he downloaded CygNet and downloaded CygNet
patches using that email address. Does Mr. Ligrani still have the CygNet software and patches in his possession, custody
or control? Has Mr. Ligrani used CygNet software to help with the transition of Weatherford customers to Iron‐IQ?

Our client also once again demands answers to the following questions:

                   1.   What was Iron‐IQ’s purpose for the use of the CygNet software?
                   2.   How many individuals at Iron‐IQ used the CygNet software for the purpose?
                   3.   How long did the individuals at Iron‐IQ use the CygNet software to achieve the purpose?
                   4.   How many 3‐day trials were obtained by the individuals at Iron‐IQ in order to achieve the purpose?
                   5.   How did the individuals at Iron‐IQ who used the CygNet software for the purpose obtain the 3‐day trials?
                   6.   Which individuals at Iron‐IQ obtained the 3‐day trials for the purpose?
                   7.   What company name(s) were used by the individuals at Iron‐IQ to obtain the 3‐day trials?
                   8.   If the 3‐day trials were not obtained using the Iron‐IQ company name, why?

Please provide responses by close of business on September 1.

Kevin Kirsch
He | Him | His
Partner


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